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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Tyrion S. Hodges
                                Plaintiff,
v.                                                     Case No.: 1:20−cv−06643
                                                       Honorable John F. Kness
C. Zamfirescu, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 21, 2023:


       MINUTE entry before the Honorable John F. Kness: Status hearing held and
continued to 8/24/2023 at 9:00 a.m. via telephone conference. The parties are to use the
following call−in number: 888−684−8852, conference code 3796759. The public and
media representatives may have access to the hearing via the same number. Audio
recording of the hearing is not permitted; violations of this prohibition may result in
sanctions. Participants are directed to keep their device muted when they are not speaking.
The case is temporarily stayed until further order. Mailed notice (ags)




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